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Presented to the Court by the foreman of the
Grand Jury in open Court, in the presence of
the Grand Jury and FILED in the US.
DISTRICT COURT at Seattle, Washington.

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“Wi. M. Mg@OOL, Clerk
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UNITED STATES DISTRICT COURT FOR THE
WESTERN DISTRICT OF WASHINGTON

 

 

 

 

United States v. Lopez Hernandez, et al. (CR18-5579RBL) - 1

AT TACOMA
_UNITED STATES OF AMERICA, CASE NO. CR18-5579RBL
Plaintiff,
v. SUPERSEDING INDICTMENT

(1) CARLOS EDUARDO LOPEZ

HERNANDEZ,
(2) DANIEL OSVALDO ROCHA LOPEZ,
(3) JAIME HEREDIA CASTRO,
(4) JUAN AVILES BERRELLEZA,
(5). EDGAR CABRERA,
(6) OTHON ALONSO VEA

CERVANTES,

Formerly charged under the name
“Carlos Alejandro Castro Perez,”

(7) CESAR LOYA SOTO,
(8) MANUEL LOYA SOTO,
(9) JULIAN GAUGE ORDONEZ,
(10) JOSE LUIS SIERRA BARRIENTOS,
(11) HECTOR MANUEL URIAS

MORENO,
(12) JORGE VALENZUELA ARMENTA,
(13) URIEL ZELAYA,
(14) ARTURO FRIAS CEBALLOS,
(15) JUAN JOSE HIGUERA GONZALEZ,
(16) JESUS RENE SARMIENTO

VALENZUELA,
(17) ALEK JAMES BAUMGARTNER,

- (18) MONIQUE GREEN,
(19) ANDREW CAIN KRISTOVICH,
SUPERSEDING INDICTMENT UNITED STATES ATTORNEY

1201 PACIFIC AVENUE, SUITE 700
TACOMA, WASHINGTON 98402
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(21) JOSE RANGEL ORTEGA,

(22) GERALD KEITH RIGGINS,

(23) ESTHER LA RENA SCOTT,

(24) MICHAEL JOHN SCOTT,

(25) KAREN SURYAN,

(26) ORLANDO BARAJAS,

(27) OSCAR HUMBERTO CARRILLO
SALCEDO,

(28) MARTIN GONZALEZ JIMENEZ,

(29) HECTOR MARIO JACOBO
CHAIREZ,

(30) JESUS ALFONSO MORA
QUINONEZ,

(31) RAMON PUENTES, and

(32) GREGORY DAVID WERBER,

Defendants.

 

 

The Grand Jury charges that:
COUNT 1
(Conspiracy to Distribute Controlled Substances)

Beginning at a time unknown and continuing until on or about December 6, 2018,
in Pierce, Kitsap, King, Skagit, and Snohomish Counties, within the Western District of
Washington, and elsewhere, CARLOS EDUARDO LOPEZ HERNANDEZ, DANIEL
OSVALDO ROCHA LOPEZ, JAIME HEREDIA CASTRO, JUAN AVILES
BERRELLEZA, EDGAR CABRERA, OTHON ALONSO VEA CERVANTES, CESAR
LOYA SOTO, MANUEL LOYA SOTO, JULIAN GAUGE ORDONEZ, JOSE LUIS
SIERRA BARRIENTOS, HECTOR MANUEL URIAS MORENO, JORGE
VALENZUELA ARMENTA, URIEL ZELAYA, ARTURO FRIAS CEBALLOS, JUAN
JOSE HIGUERA GONZALEZ, JESUS RENE SARMIENTO VALENZUELA, ALEK
JAMES BAUMGARTNER, MONIQUE GREEN, ANDREW CAIN KRISTOVICH,
JOSE RANGEL ORTEGA, GERALD KEITH RIGGINS, ESTHER LA RENA SCOTT,
MICHAEL JOHN SCOTT, KAREN SURYAN, ORLANDO BARAJAS, OSCAR
HUMBERTO CARRILLO SALCEDO, MARTIN GONZALEZ JIMENEZ, HECTOR

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MARIO JACOBO CHAIREZ, JESUS ALFONSO MORA QUINONEZ, RAMON
PUENTES, and others known and unknown, did knowingly and intentionally conspire to
distribute substances controlled under Title 21, United States Code, Section 812,
Schedules I and II, to wit: heroin, Fentanyl, and methamphetamine, contrary to the
provisions of Title 21, United States Code.
Specific Quantity Allegations as to Heroin

- The Grand Jury further alleges that with respect to CARLOS EDUARDO LOPEZ
HERNANDEZ, DANIEL OSVALDO ROCHA LOPEZ, JAIME HEREDIA CASTRO,
JUAN AVILES BERRELLEZA, OTHON ALONSO VEA CERVANTES, CESAR
LOYA SOTO, JOSE LUIS SIERRA BARRIENTOS, HECTOR MANUEL URIAS
MORENO, ARTURO FRIAS CEBALLOS, JUAN JOSE HIGUERA GONZALEZ,
JESUS RENE SARMIENTO VALENZUELA, GERALD KEITH RIGGINS, MARTIN
GONZALEZ JIMENEZ, HECTOR MARIO JACOBO CHAIREZ, and JESUS
ALFONSO MORA QUINONEZ, their conduct as members of the conspiracy charged in
Count 1, which includes the reasonably foreseeable conduct of other members of the
conspiracy charged in Count 1, involved 1 kilogram or more of a mixture or substance
containing a detectable amount of heroin, in violation of Title 21, United States Code,
Section 841(b)(1)(A).

The Grand Jury further alleges that with respect to MONIQUE GREEN, KAREN
SURYAN, and URIEL ZELAYA, their conduct as members of the conspiracy charged in
Count 1, which includes the reasonably foreseeable conduct of other members of the
conspiracy charged in Count 1, involved 100 grams or more of a mixture or substance
containing a detectable amount of heroin, in violation of Title 21, United States Code,
Section 841(b)(1)(B).

Specific Quantity Allegations as to Fentanyl

The Grand Jury further alleges that this with respect to CARLOS EDUARDO
LOPEZ HERNANDEZ, DANIEL OSVALDO ROCHA LOPEZ, JAIME HEREDIA
CASTRO, JUAN AVILES BERRELLEZA, OTHON ALONSO VEA CERVANTES,

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CESAR LOYA SOTO, MANUEL LOYA SOTO, HECTOR MANUEL URIAS
MORENO, JORGE VALENZUELA ARMENTA, ARTURO FRIAS CEBALLOS,
JUAN JOSE HIGUERA GONZALEZ, JESUS RENE SARMIENTO VALENZUELA,
ANDREW CAIN KRISTOVICH, ESTHER LA RENA SCOTT, MICHAEL JOHN
SCOTT, MARTIN GONZALEZ JIMENEZ, JESUS ALFONSO MORA QUINONEZ,
and RAMON PUENTES, their conduct as members of the conspiracy charged in Count
1, which includes the reasonably foreseeable conduct of other members of the conspiracy
charged in Count 1, involved 400 grams or more of a mixture or substance containing a
detectable amount of N-phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide
(Fentanyl), and 100 grams or more of any analogue of N-phenyl-N-[1-(2-phenylethyl)-4-
piperidinyl] propanamide (Fentanyl), in violation of Title 21, United States Code, Section
841(b)(1)(A).

The Grand Jury further alleges that with respect to ALEK JAMES
BAUMGARTNER and JOSE RANGEL ORTEGA, their conduct as members of the
conspiracy charged in Count 1, which includes the reasonably foreseeable conduct of
other members of the conspiracy charged in Count 1, involved 40 grams or more of a
mixture or substance containing a detectable amount of N-phenyl-N-[1-(2-phenylethyl)-
4-piperidinyl] propanamide (Fentanyl), and 10 grams or more of any analogue of N-
phenyl-N-[1-(2-phenylethyl)-4-piperidinyl] propanamide (Fentanyl), in violation of Title
21, United States Code, Section 841(b)(1)(B.).

Specific Quantity Allegations as to Methamphetamine

The Grand Jury further alleges that with respect to CARLOS EDUARDO LOPEZ
HERNANDEZ, DANIEL OSVALDO ROCHA LOPEZ, EDGAR CABRERA, OTHON
ALONSO VEA CERVANTES, JULIAN GAUGE ORDONEZ, URIEL ZELAYA, and
MARTIN GONZALEZ JIMENEZ, their conduct as members of the conspiracy charged
in Count 1, which includes the reasonably forseeable conduct of the other members of the
conspiracy charged in Count 1, involved 50 grams or more of methamphetamine, its salts,

isomers, and salts of its isomers, and 500 grams or more of a mixture or substance

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containing a detectable amount of methamphetamine, its salts, isomers, and salts of its
isomers, in violation of Title 21, United States Code, Section 841(b)(1)(A).

The Grand Jury further alleges that with respect to ANDREW CAIN
KRISTOVICH, his conduct as a member of the conspiracy charged in Count 1, which
includes the reasonably forseeable conduct of the other members of the conspiracy
charged in Count 1, involved 5 grams or more of methamphetamine, its salts, isomers,
and salts of its isomers, and 50 grams or more of a mixture or substance containing a
detectable amount of methamphetamine, its salts, isomers, and salts of its isomers, in

violation of Title 21, United States Code, Section 841(b)(1)(B).

All in violation of Title 21, United States Code, Sections 841(a)(1), 841(b)(1), and
846.
COUNT 2
(Conspiracy to Commit Money Laundering)
Beginning at a time unknown, but within the last five years, and continuing
through December 6, 2018, in Skagit County, within the Western District of Washington,

and elsewhere, JAIME HEREDIA CASTRO, ORLANDO BARAJAS, and others known
and unknown, unlawfully and knowingly combined, conspired, confederated and agreed
together and with each other to commit certain money laundering offenses under Title 18,
United States Code, Section 1956, as follows:

1956(a)(1)(B)@)

Did conduct and attempt to conduct financial transactions, that is: transactions
involving the movement of funds by wire and other means affecting interstate and foreign
commerce, which in fact involved the proceeds of specified unlawful activity, that is,
conspiracy to distribute controlled substances, in violation of Title 21, United States
Code, Sections 841(a)(1) and 846, knowing that the transactions are designed in whole or
in part to conceal and disguise the nature, the location, the source, the ownership, and the
control of the proceeds of the specified unlawful activity, in violation of Title 18, United
States Code, Section 1956(a)(1)(B)(i); and

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1956(a)(1)(B)(ii)

Did conduct and attempt to conduct financial transactions, that is: transactions
involving the movement of funds by wire and other means affecting interstate and foreign
commerce, which in fact involved the proceeds of specified unlawful activity, that is,
conspiracy to distribute controlled substances, in violation of Title 21, United States
Code, Sections 841(a)(1) and 846, knowing that the transactions are designed in whole or
in part to avoid a transaction reporting requirement under State and Federal Law, in
violation of Title 18, United States Code, Section 1956(a)(1)(B)(ii).

The Grand Jury further alleges this offense was committed during and in
furtherance of the conspiracy charged in Count 1, above.

All in violation of Title 18, United States Code, Section 1956(h).

COUNT 3
(Conspiracy to Commit Money Laundering)

Beginning at a time unknown, but within the last five years, and continuing
through December 6, 2018, in King County, within the Western District of Washington,
and elsewhere, OSCAR HUMBERTO CARRILLO SALCEDO, CARLOS EDUARDO
LOPEZ HERNANDEZ, DANIEL OSVALDO ROCHA LOPEZ, EDGAR CABRERA,
GREGORY DAVID WERBER, and others known and unknown, unlawfully and
knowingly combined, conspired, confederated and agreed together and with each other to
commit certain money laundering offenses under Title 18, United States Code, Section
1956, as follows:

1956(a)(1)(B)@) |

Did conduct and attempt to conduct financial transactions, that is: transactions

involving the movement of funds by wire and other means affecting interstate and foreign

commerce, which in fact involved the proceeds of specified unlawful activity, that is,

|| conspiracy to distribute controlled substances, in violation of Title 21, United States

Code, Sections 841(a)(1) and 846, knowing that the transactions are designed in whole or

in part to conceal and disguise the nature, the location, the source, the ownership, and the

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control of the proceeds of the specified unlawful activity, in violation of Title 18, United
States Code, Section 1956(a)(1)(B)(i); and
1956(a)(1)(B)(ii)

Did conduct and attempt to conduct financial transactions, that is: transactions
involving the movement of funds by wire and other means affecting interstate and foreign
commerce, which in fact involved the proceeds of specified unlawful activity, that is,
conspiracy to distribute controlled substances, in violation of Title 21, United States
Code, Sections 841(a)(1) and 846, knowing that the transactions are designed in whole or
in part to avoid a transaction reporting requirement under State and Federal Law, in |
violation of Title 18, United States Code, Section 1956(a)(1)(B)(ii).

The Grand Jury further alleges this offense was committed during and in
furtherance. of the conspiracy charged in Count 1, above.

All in violation of Title 18, United States Code, Section 1956(h).

COUNT 4
(Money Laundering)

On or about November 29, 2018, in King County, in the Western District of
Washington, the Central District of California, and elsewhere, GREGORY DAVID
WERBER, did knowingly conduct and attempt to conduct a financial transaction .
affecting interstate and foreign commerce, which transaction involved property
represented by a law enforcement officer to be the proceeds of specified unlawful
activity, specifically, distribution of controlled substances, in violation of Title 21, United
States Code, Section 841, with the intent to conceal and disguise the nature, location,
source, ownership and control, of property believed to be proceeds of specified unlawful
activity and to avoid a transaction reporting requirement under State or Federal law.

All in violation of Title 18, United States Code, Sections 1956(a)(3)(B),
1956(a)(3)(C) and 2.

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COUNT 5
(Money Laundering)

On or about December 5, 2018, in King County, in the Western District of
Washington, and elsewhere, GREGORY DAVID WERBER and OSCAR HUMBERTO
CARRILLO SALCEDO, did knowingly conduct and attempt to conduct a financial
transaction affecting interstate and foreign commerce, which transaction involved
property represented by a law enforcement officer to be the proceeds of specified
unlawful activity, specifically, distribution of controlled substances, in violation of
Title 21, United States Code, Section 841, with the intent to conceal and disguise the
nature, location, source, ownership and control, of property believed to be proceeds of
specified unlawful activity and to avoid a transaction reporting requirement under State
or Federal law.

All in violation of Title 18, United States Code, Sections 1956(a)(3)(B),
1956(a)(3)(C) and 2.

ASSET FORFEITURE ALLEGATIONS

Drug Offense

The allegations in Count 1 of this Indictment are hereby realleged and
incorporated by reference herein for the purpose of alleging forfeiture to the United
States pursuant to Title 21, United States Code, Section 853. |

Pursuant to Title 21, United States Code, Section 853, upon conviction of the
felony drug offense charged in Count 1 of this Indictment, defendants CARLOS
EDUARDO LOPEZ HERNANDEZ, DANIEL OSVALDO ROCHA LOPEZ, JAIME
HEREDIA CASTRO, JUAN AVILES BERRELLEZA, EDGAR CABRERA, OTHON
ALONSO VEA CERVANTES, CESAR LOYA SOTO, MANUEL LOYA SOTO,
JULIAN GAUGE ORDONEZ, JOSE LUIS SIERRA BARRIENTOS, HECTOR
MANUEL URIAS MORENO, JORGE VALENZUELA ARMENTA, URIEL ZELAYA,
ARTURO FRIAS CEBALLOS, JUAN JOSE HIGUERA GONZALEZ, JESUS RENE
SARMIENTO VALENZUELA, MONIQUE GREEN, ANDREW CAIN KRISTOVICH,

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JOSE RANGEL ORTEGA, GERALD KEITH RIGGINS, ESTHER LA RENA SCOTT,
MICHAEL JOHN SCOTT, KAREN SURYAN, ORLANDO BARAJAS, OSCAR
HUMBERTO CARRILLO SALCEDO, MARTIN GONZALEZ JIMENEZ, HECTOR
MARIO JACOBO CHAIREZ, JESUS ALFONSO MORA QUINONEZ, and RAMON
PUENTES, shall forfeit to the United States of America any and all property, real or
personal, constituting or derived from, any proceeds the defendants obtained, directly or
indirectly, as the result of such offenses, and shall further forfeit any and all property, real
or personal, used, or intended to be used, in any manner or part, to commit, or to facilitate
the commission of, such offenses. The property to be forfeited includes, but is not
limited to, the following:

a. One hundred sixty-four thousand, one hundred and sixteen dollars

($164,116.00), more or less, seized from 31900 104th Avenue Southeast,
Unit I-101, Auburn, Washington, on August 31, 2018;
b. Four pairs of shoes; and |
c. Sums of money representing the proceeds that each defendant individually
obtained as a result of the Conspiracy to Distribute Controlled Substances,
as alleged in Count 1, above.
Money Laundering Offenses

The allegations in Counts 2-5 of this Indictment are hereby realleged and
incorporated by reference herein for the purposes of alleging forfeiture to the United
States pursuant to Title 18, United States Code, Section 982(a)(1).

Upon conviction of the felony offense in violation of Title 18, United States Code,
Sections 1956, as charged in Counts 2-5 of this Indictment, defendants JAIME
HEREDIA CASTRO, ORLANDO BARAJAS, OSCAR HUMBERTO CARRILLO
SALCEDO, CARLOS EDUARDO LOPEZ HERNANDEZ, DANIEL OSVALDO
ROCHA LOPEZ, EDGAR CABRERA, and GREGORY DAVID WERBER shall forfeit
to the United States of America any property, real or personal, involved in such offenses,

and any property traceable to such property, including but not limited to the following,

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a. Sums of money representing any property, real or personal, involved in the
offenses charged in Counts 2-5 of this Indictment, and any property
| traceable to such property that each defendant individually obtained.
Substitute Assets .
If any of the property described above, as a result of any act or omission of the
defendants:
a cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
c. has been placed beyond the jurisdiction of the Court;
d. has been diminished in value; or
e. hasbeen commingled with other property which cannot be divided without
difficulty,
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1 || it is the intent of the United States, pursuant to Title 21, United States Code, Section
2 || 853(p), to seek the forfeiture of any other property of the defendants up to the value of
3 || the above-described forfeitable property.
4
5 A TRUE BILL:
6 DATED: |2-13 - 2018
7
8 (Signature of Foreperson redacted
pursuant to the policy of the Judicial
9 Conference of the United States)
10 FOREPERSON
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A ny TE L. HAYES
1 i tates Attorney
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191) Kary Abner pu
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KARYN S. JOHNSON
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